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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA
                                                   Case No. 22-cr-00007-LKG-1
                v.

 MARILYN J. MOSBY,

                        Defendant



   STATE’S ATTORNEY MOSBY’S RESPONSE TO THE INTERESTED PARTIES’
             OBJECTIONS TO DEFENDANT’S MOTION TO SEAL

       Defendant Marilyn J. Mosby, by and through her undersigned counsel, hereby submits this

Response to the Objections (ECF No. 137) filed by The Daily Record, The Baltimore Sun and The

Baltimore Banner (collectively, the “Interested Parties”) to Defendant’s Motion to Seal

Defendant’s Motion to Transfer Venue (ECF No. 128). State’s Attorney Mosby responds as

follows.

       As previously stated, the public’s right of access to criminal proceedings is of paramount

importance to State’s Attorney Mosby; and that interest is something she takes very seriously in

both her professional and personal capacity. State’s Attorney Mosby believes that the docket

entries in these proceedings should be available to the public to the greatest extent allowed by law.

Accordingly, while State’s Attorney Mosby sought to seal her motion to transfer out of an

abundance of caution, she is not opposed to a more limited redaction of certain portions of the

motion, provided that such redaction comports with Local Criminal Rule 204, as noted in the

Court’s Order to Show Cause, ECF No. 124.

       Far from seeking to litigate this case outside the public’s eye (as the Interested Parties

suggest in their objections), State’s Attorney Mosby asked this Court to seal her motion to transfer

venue in an abundance of caution and to ensure compliance with Local Rule 204. The Court’s
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Show Cause Order identified certain information contained in the defense’s September 29, 2022

filing in opposition to the government’s gag order motion, ECF No. 123, as being confidential

under Local Rule 204.1. Given the Court’s concerns, and out of an abundance of caution so as to

not prejudice State’s Attorney Mosby’s right to a fair trial, State’s Attorney Mosby sought to file

her venue transfer motion under seal.

       Given the competing public access concerns at issue here as outlined in the Interested

Parties’ objections, however, State’s Attorney Mosby does not oppose a more limited redaction of

her venue transfer motion, which would only redact from public view the information identified

as confidential in the Court’s Show Cause Order.

                                        CONCLUSION

       For the foregoing reasons, Defendant Marilyn Mosby does not oppose a limited unsealing

of her motion to transfer venue.



Dated: November 9, 2022                 Respectfully submitted,


                                        /s/ A. Scott Bolden
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                                    CERTIFICATE OF SERVICE

       I certify that, on November 9, 2022, this document was electronically filed with the Clerk

of Court using the Court’s CM/ECF system, which will then serve a notification of the filing to

the registered parties of record.



                                                    /s/ A. Scott Bolden
                                                    A. Scott Bolden




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